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        Bruno Joseph Cua



              Defendant(s)




                                    January 6, 2021


Code Section                                                               Offense Description
18 U.S.C. § 111(a)(1) - Assault on a Federal Officer
18 U.S.C. § 231(a)(3) - Civil Disorder
18 U.S.C. § 1512(c)(2) - Obstruction of an Official Proceeding
18 U.S.C. § 1752 (a)(1), (2) and (4) - Restricted Building or Grounds
40 U.S.C. § 5104(e)(2)(A), (B), (C), (D), (F), and (G)- Enter or remain on the floor or gallery of either House of Congress,Violent Entry
or Disorderly Conduct, Engage in physical violence, Obstruct, or impede passage, and parade, demonstrate, or picket on Capitol Grounds




                                                                                               Complainant’s signature

                                                                                 Daniel A. Mehochko, Special Agent
                                                                                                Printed name and title




     01/29/2021
                                                                                                  Judge’s signature

                                                                                 Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                Printed name and title
